Case 1:12-cr-20071-PAS Document 52 Entered on FLSD Docket 10/22/2012 Page 1 of 10




                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

  UNITED STATES OF AMERICA,

         Plaintiff,
  VS.                                           CASE NO. 12-20071-CR-SEITZ

  FRANCISCO CUBERO,

        Defendant.
  ______________________________/

                SUPPLEMENT TO SENTENCING MEMORANDUM

         COMES NOW, the Defendant, FRANCISCO CUBERO, by and through his

  undersigned counsel and files this Supplement to Sentencing Memorandum for the court’s

  consideration at Sentencing.

         I.      The need for the sentence imposed to reflect the seriousness of the
                 offense, promote respect for the law, afford adequate deterrence and
                 protect the public

         Any sentence this Court imposes must reflect the seriousness of the offense;

  promote respect for the law; provide just punishment and afford both specific and general

  deterrence. Mr. Cubero’s advisory guideline range, per the PSI, is 151-188 months. If his

  objections are sustained, the advisory guideline range is 97-121 months. There is a

  mandatory minimum penalty of five (5) years, and a statutory maximum penalty of twenty

  (20) year sentence (Count 1). Counts 2 & 3 have no mandatory minimum and each has a

  statutory maximum penalty of ten years. Conversely, Congress concluded that there will be

  cases that while serious, warrant a sentence as low as five (5) years in prison.
Case 1:12-cr-20071-PAS Document 52 Entered on FLSD Docket 10/22/2012 Page 2 of 10




         Each case is unique and stands alone. But for the instant conduct, Mr. Cubero has

  lived his life following those rules set before him. He has had no prior contact with the

  criminal justice system. As a juvenile, in 1999, he was given a traffic citation for littering

  (i.e., throwing flyers out the window of a car). This was dismissed after completing the

  JASP program. In 2011, for a short period of time, he started to download child

  pornography, and committed the instant offense. Mr. Cubero has never communicated with

  a child online. His conduct did not escalate to having any physical contact with children.

  Yet, his advisory guideline range is near the statutory maximum. However, with his lack of

  criminal history, his ready admission of guilt, and his cooperation with law enforcement, at

  the time of his arrest, strongly support the proposition that with the proper help he should

  be able to return to society and live a productive and law abiding life.

         The sentencing goals of Section 3553(a) can be achieved by a term of

  imprisonment shorter than that called for by the guidelines. Such a harsh sentence should

  be saved for only the worst offenders.

         II.     The kind of sentences available, the sentencing range available for the
                 type of sentence committed, and the need to provide the defendant with
                 correctional treatment in the most effective manner.

         As previously discussed, this Court’s range of options is limited only by the five

  (5) year mandatory minimum and the twenty (20) year ceiling set by Congress. As to the

  sentencing guideline range available, it is clear that the particular guideline, Section 2G2.2

                                              -2-
Case 1:12-cr-20071-PAS Document 52 Entered on FLSD Docket 10/22/2012 Page 3 of 10



  does not reflect reasoned and sound judgment, and should not be considered a reasonable

  and appropriate sentencing option in this case. Judges across the country and this District

  have recognized the flaws inherent in the structure of Section 2G2.2 and are routinely

  granting variances.

         As noted above, many district courts have imposed sentences far below the

  guidelines range for offenses involving the possession and transportation of child

  pornography. For example, in United States v. Handons, 561 F. Supp. 2d 1004 (E.D.

  Wisconsin 2008), the district court imposed a sentence of 72 months incarceration where

  the guideline Section 2G2.2 recommended a prison term of 210-262 months. In United

  States v. McBride, 511 F.3d 1293 (11th Cir. 2007) the Eleventh Circuit upheld a variance

  from a range of 151 – 188 months down to 84 months followed by 10 years of supervised

  release. The defendant possessed 981 images and 45 videos of child pornography. In

  arriving at its sentence, the district court noted that the defendant had been abandoned by

  his parents and sexually abused for years by his grandfather. The court found that in light

  of those and other factors, an eighty-four month sentence was sufficient.

         In United States v. Gray, the district court imposed a sentence of 72 months

  imprisonment where the guideline range recommended 151-188 months. United States v.

  Gray, 453 F. 3d 1323 (11th Cir. 2006). Mr. Gray was charged with distribution of child

  pornography and the forensic examination revealed more than 300 images of child

  pornography. Id. at 1323. Mr. Gray admitted to law enforcement he downloaded images

  for approximately five years. Id. at 1323-1324. In the Gray case, the Appeals Court

  affirmed

                                             -3-
Case 1:12-cr-20071-PAS Document 52 Entered on FLSD Docket 10/22/2012 Page 4 of 10




  because the district court took into account the defendant’s “age, his prior minimal

  criminal conduct, and his medical condition.” Id. at 1325. Mr. Gray was a 64 year old man

  with a minimal record, and heart condition.

         In this District, courts have also refused to follow the severe advisory guidelines

  produced by Section 2G2.2. In the case of United States v. Riley, 644 F. Supp. 2d

  1298(S.D. Fla. 2009), Judge King rejected the recommended sentencing range and

  sentenced the defendant to the statutory minimum term of sixty (60) months. In Riley, the

  defendant was actually conversing through an online chat room with a person he believed

  to be a single mother with a ten year old daughter. During the conversations, the defendant

  expressed an interest in engaging in sexual behavior with the mother and daughter and

  requested pictures of the daughter. After making contact with the defendant, FBI agents

  discovered 900 additional stills and 10 videos on his computer. In rejecting the advisory

  guideline range of 210-262 months, Judge King noted that the guidelines are entitled to

  deference when the Sentencing Commission produces them in accordance with their

  institutional role and where the guidelines are the result of a study of empirical data.

  However, Judge King concluded that little deference is owed to the guideline for child

  pornography cases since these guidelines did not exemplify the Sentencing Commission’s

  exercise of its characteristic institutional role and empirical analysis. Id. at 1301. Also,

  Judge King discussed at length that due to arbitrary upward increases in the base offense

                                              -4-
Case 1:12-cr-20071-PAS Document 52 Entered on FLSD Docket 10/22/2012 Page 5 of 10

  levels for child pornography and the near-automatic application of numerous specific

  offense enhancements (i.e., distribution, use of a computer, prepubescent victims and

  number of images), rarely, if ever, will a defendant score at the low end of the statutory

  range. Rather, almost all defendant’s will score toward the high end of the statutory range,

  no matter their personal characteristics and degree of culpability. The Court found Mr.

  Riley to be a “fairly typical first time offender” and therefore more appropriately subject to

  the 60 month minimum proscribed by Congress. The conduct in the Riley case is clearly

  much more egregious than any conduct by Mr. Cubero.

         Undersigned counsel hereby incorporates by reference all grounds, arguments, and

  sentencing factors set forth in the Sentencing Opinion and Order of the Honorable James

  Lawrence King in the case of U.S. v. Riley, SDFL Case No. 09-CR-20221-KING. Said

  Sentencing Opinion and Order is further identified as DE 38 in the official docket of the

  Riley case. A copy of said Sentencing Opinion and Order is attached as Exhibit No. 1.

         Likewise, in United States v. Matthew Clark, Case No. 11-14064-CR-GRAHAM,

  in a case involving the same conduct as Mr. Cubero (viewing child pornography and

  uploading and storing child pornography on a file sharing network), Judge Graham varied

  from the advisory guideline range of 151-188 months to a sentence of 66 months. In

  United States v. Nat Lane, Case No. 10-14061-CR-MARTINEZ, Judge Martinez varied

  from the guideline range of 151 months to a sentence of 108 months. In United States v.

  Jose Selem, Case No. 11-20643-CR-SCOLA, the Court varied from the advisory guideline

  range of 151-188 months to a sentence of 120 months. In United States v. Mehrdad Sarlak,

  Case

                                               -5-
Case 1:12-cr-20071-PAS Document 52 Entered on FLSD Docket 10/22/2012 Page 6 of 10

  No. 11-20078-CR-KING, defendant was also charged with distribution and possession of

  child pornography. Judge King varied from the advisory guideline range of 151-188

  months to a sentence of 60 months.

         In United States v. Demarco, Case No. 10-CR-20261-CR-MOORE, Judge Moore

  imposed a sentence of 60 months imprisonment followed by life term of supervised

  release. In that case, the defendant also used peer-to-peer file sharing system, had no

  criminal history, suffered from mental and emotional disorders, and never committed a

  contact sexual offense on a minor. The Eleventh Circuit has upheld sentences such as those

  described above, despite what are often significant departures from the advisory guideline

  range. See, e.g., United States v. Gray, 453 F.3d 1323 (11th Cir. 2006)(affirmed a variance

  to 72 months from the guideline range of 151 to 188 months).

           In United States v. Shawn Beauvais, Case No. 12-60067-CR-SCOLA, the

  defendant was charged with distribution, receipt and possession of child pornography and

  Judge Scola sentenced him to 75 months imprisonment where the guideline range

  recommended 151-188 months. Defendant Beauvais was involved in on-line chat

  communications, under the name of Uncle Scotty, sharing and trading in child

  pornography with various individuals. He was intercepted by law enforcement in two

  unrelated investigations one of which revealed him sharing at least 2411 files as Uncle

  Scotty. The prosecutor’s own assessment was that this case involved a massive collection

  of particularly abhorrent child pornography because so many depicted the sexual abuse of

  babies being vaginally and anally penetrated. After more than 4000 images and 1700

                                              -6-
Case 1:12-cr-20071-PAS Document 52 Entered on FLSD Docket 10/22/2012 Page 7 of 10

  videos were found on the hard drive, the prosecutor advised the agent to cease her review.

  The government requested that the Court sentence the defendant to a term of 121 months

  representing a two level reduction/downward variance. Judge Scola’s variance was the

  equivalent of 50% off the bottom of the advisory guideline range.

         In United States v. Sajay Fays, Case No. 11-20581-CR-COOKE, the defendant was

  involved in online chats wherein he commented that he had a lot of files to share and he

  was charged with receiving and distributing as well as possession of child pornography.

  The low end of his advisory guidelines was 151 months. Judge Cooke granted a variance

  and imposed a 110 months sentence.

         The government, in its Response in Opposition to Defendant’s Objections to the

  PSI and Request for Variance (D.E. 41), at pages 25-27, cites to four cases to support why

  this Court should not grant a downward variance. However, in three of those cases the

  district court judges did in fact grant significant downward variances. In United States v.

  Carlos Ramirez, Case No. 11-20551-CR-SEITZ), the advisory guidelines recommended a

  guideline range of 210 to 240 months imprisonment. The government opposed the

  defendant’s objections to the PSI and the request for a downward variance. There were 46

  videos and 500 still images for a total of 3,950 images. According to the government’s

  response and the Factual Proffer, the images that the defendant possessed portrayed

  sadistic or masochistic conduct. This Court sustained objections made and the recalculated

  guidelines were 121-151 months and the government took the position of 121 months and

  no variance. This Court sentenced Mr. Ramirez to 60 months of imprisonment.

                                          -7-
Case 1:12-cr-20071-PAS Document 52 Entered on FLSD Docket 10/22/2012 Page 8 of 10

         In United States v. Ricardo Maciel, Case No. 10-20686-CR-JORDAN, the

  defendant was caught on seven occasions with distributing and/or sharing files on the

  internet and the number of videos seized were either 41 (i.e., 3,075 images) or 144 (i.e.,

  10,800 images). The government’s response and the sentencing transcript refer to 144

  videos but the Factual Proffer and the Criminal Complaint indicate 41 videos. Mr. Maciel

  was charged with distribution and receipt of child pornography and his advisory guidelines

  were 210-262 months. Judge Jordan granted a downward variance reduction of 66 months

  from the low end of the guidelines to a 144 month sentence.

         In United States v. Jonathan Quintana, Case No. 10-20696-CR-GOLD, the

  defendant had been involved in child pornography for 2 ½ years for at least 3 hours a

  week, and the court found that the amount of images involved was a staggering 16,000.

  The advisory guideline range was 210-240 months, the statutory maximum. Judge Gold

  sustained objections to the PSI and the low end of the guidelines were 121 months. His

  sentence varied to 84 months and Judge Gold stated “… but for the number of images here

  and the length of time in which they were downloaded and kept, I would have considered a

  variance down to the 60 months.” (D.E. No. 51 at page 26). Mr. Cubero’s total images are

  1,275 which is less than 8% of the amount of images in the Quintana case and his

  involvement is for only several months.

         Finally, in United States v. Guillermo D. Martinez, Case No. 11-20718-CR-

  MOORE, the defendant benefitted from either his criminal savy or his good fortune.

  Martinez was only charged with possession of child pornography even though he had been

                                         -8-
Case 1:12-cr-20071-PAS Document 52 Entered on FLSD Docket 10/22/2012 Page 9 of 10



  intercepted on file sharing network on at least three occasions. However, when law

  enforcement arrested him and seized his computer they were not able to retrieve all of the

  child pornography because Mr. Martinez had refurbished the computer (i.e., he had wiped

  it clean). He was only held accountable for 9 videos. Thus, instead of him scoring 151-188

  months, he scored a low end of 78 months imprisonment and Judge Moore did not vary

  downwards. It would be rewarding someone for either their wrongdoing or good fortune.

  No matter what way you look at it, the government is asking this Court to punish Mr.

  Cubero at nearly double the sentence that Martinez received. That is not justice and Mr.

  Cubero asks for a variance and sentence of 60 months for a first time offender in line with

  the above-described cases in this district beginning with the Riley case and those that have

  followed.

         WHEREFORE, Defendant, FRANCISCO CUBERO, respectfully requests that

  the Court consider this Supplement to Sentencing Memorandum, to vary from the

  recommended guideline range, and to sentence him to sixty (60) months imprisonment to

  be followed by five (5) years of supervised release.




                                              -9-
Case 1:12-cr-20071-PAS Document 52 Entered on FLSD Docket 10/22/2012 Page 10 of 10



                                                Respectfully submitted,

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                                               BY:s/Manuel Gonzalez, Jr.__________
                                                 MANUEL GONZALEZ, JR., ESQ.
                                                 FLORIDA BAR NO. 397997



                                CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that a true and correct copy of the foregoing was

   electronically filed with the Clerk of Court using CM/ECF this 22nd day of October, 2012.




                                               BY:s/Manuel Gonzalez, Jr.___________
                                                 MANUEL GONZALEZ, JR., ESQ.




                                              -10-
